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                                                       United States District Court
                                                       Central District of California


 UNITED STATES OF AMERICA vs.                                               Docket No.             CR 15-478(A)-GW                      JS-3

 Defendant          STEPHEN YOUNG KANG                                      Social Security No. 7         5   8   5
 akas:                                                                      (Last 4 digits)

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                  MONTH    DAY   YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.        02   29    2016

  COUNSEL                                                  James W. Spertus; Diane H. Bang, Retained.
                                                                            (Name of Counsel)

    PLEA            U GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO             NOT
                                                                                                              CONTENDERE         GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          18 U.S.C. § 1343: WIRE FRAUD and 26 U.S.C. § 7201: TAX EVASION as charged in the First Superseding
          Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that:
  COMM    Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant is hereby committed to the
  ORDER   custody of the Bureau of Prisons to be imprisoned for a term of: Sixty-three months.


It is ordered that the defendant shall pay to the United States a special assessment of $300, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of
Prisons' Inmate Financial Responsibility Program.

Defendant shall pay restitution in an amount to be determined. Restitution Hearing is set for March 28, 2016 at 8:00 a.m.
Government’s brief will be filed by March 18, 2016. Defendant will respond by no later than March 24, 2016.

Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau
of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid after release from custody,
nominal monthly payments of at least 10% of defendant's gross monthly income but not less than $200, whichever is greater, shall
be made during the period of supervised release and shall begin 30 days after the commencement of supervision. Nominal restitution
payments are ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future
payment of the amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority order
or percentage payment is specified in the judgment.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability
to pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with General Order No. 01-05.

All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition to restitution.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Stephen Young Kang, is hereby
committed on Count 8, 22, and 29 of the First Superseding Indictment to the custody of the Bureau of Prisons for a term of 63 months.

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This term consists of 63 months on each of Counts 8 and 22 of the First Superseding Indictment and 60 months on Count 29, all to
be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This term consists of
three years on each of Counts 8, 22, and 29 of the First Superseding Indictment, all such terms to run concurrently under the following
terms and conditions:

         1.         The defendant shall comply with the rules and regulations of the United States Probation Office, General
                    Order 05-02, and General Order 01-05, including the three special conditions delineated in General
                    Order 01-05.

         2.         During the period of community supervision, the defendant shall pay the special assessment and
                    restitution in accordance with this judgment's orders pertaining to such payment.

         3.         The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.         The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit
                    to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
                    thereafter, not to exceed eight tests per month, as directed by the Probation Officer.

         5.         The defendant shall participate in an outpatient substance abuse treatment and counseling program that
                    includes urinalysis, breath and/or sweat patch testing, as directed by the Probation Officer. The
                    defendant shall abstain from using alcohol and illicit drugs, and from abusing prescription medications
                    during the period of supervision.

         6.         During the course of supervision, the Probation Officer, with the agreement of the defendant and defense
                    counsel, may place the defendant in a residential drug treatment program approved by the United States
                    Probation Office for treatment of narcotic addiction or drug dependency, which may include counseling
                    and testing, to determine if the defendant has reverted to the use of drugs, and the defendant shall reside
                    in the treatment program until discharged by the Program Director and Probation Officer.

         7.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of the defendant's
                    drug and alcohol dependency to the aftercare contractors during the period of community supervision,
                    pursuant to 18 U.S.C. § 3672. The defendant shall provide payment and proof of payment as directed
                    by the Probation Officer.

         8.         The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall
                    truthfully and timely file and pay taxes during the period of community supervision. Further, the
                    defendant shall show proof to the Probation Officer of compliance with this order.

         9.         The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business
                    involving loan programs, investment programs or any other business involving the solicitation of funds
                    or cold-calls to customers without the express approval of the Probation Officer prior to engaging in
                    such employment. Further, the defendant shall provide the Probation Officer with access to any and all
                    business records, client lists, and other records pertaining to the operation of any business owned, in
                    whole or in part, by the defendant, as directed by the Probation Officer.

         10.        The defendant shall not be employed in any position that requires licensing and/or certification by any
                    local, state, or federal agency without the prior written approval of the Probation Officer.

         11.        The defendant shall apply all monies received from income tax refunds to the outstanding court-ordered
                    financial obligation. In addition, the defendant shall apply all monies received from lottery winnings,
                    inheritance, judgments and any anticipated or unexpected financial gains to the outstanding
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                        court-ordered financial obligation.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to facilitate
the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by the treatment
provider is prohibited without the consent of the sentencing judge.

Defendant’s self-surrender date shall be set on March 28, 2016.

The Government's request to dismiss the remaining counts of the underlying Indictment and the First Superseding Indictment is
granted.

The Court advises defendant of his rights to an appeal. The Court recommends, but does not order, that defendant (1) be placed in
a 500-hour drug program while incarcerated; and (2) serve his term at the Prison Camp at Sheridan, Oregon.


 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




              April 6, 2016
              Date                                                                                 GEORGE H. WU, U. S. District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.

                                                                                                   Clerk, U.S. District Court



              April 6, 2016                                                               By       /S/ Javier Gonzalez
              Filed Date                                                                           Deputy Clerk



 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                                          STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                                          While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;                                10.     the defendant shall not associate with any persons engaged in criminal activity, and shall
 2.    the defendant shall not leave the judicial district without the written permission of the court              not associate with any person convicted of a felony unless granted permission to do so by
       or probation officer;                                                                                        the probation officer;
 3.    the defendant shall report to the probation officer as directed by the court or probation            11.     the defendant shall permit a probation officer to visit him or her at any time at home or
       officer and shall submit a truthful and complete written report within the first five days of                elsewhere and shall permit confiscation of any contraband observed in plain view by the
       each month;                                                                                                  probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation officer and follow the          12.     the defendant shall notify the probation officer within 72 hours of being arrested or
       instructions of the probation officer;                                                                       questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other family responsibilities;            13.     the defendant shall not enter into any agreement to act as an informer or a special agent of
 6.    the defendant shall work regularly at a lawful occupation unless excused by the probation                    a law enforcement agency without the permission of the court;
       officer for schooling, training, or other acceptable reasons;                                        14.     as directed by the probation officer, the defendant shall notify third parties of risks that may
 7.    the defendant shall notify the probation officer at least 10 days prior to any change in                     be occasioned by the defendant’s criminal record or personal history or characteristics, and
       residence or employment;                                                                                     shall permit the probation officer to make such notifications and to conform the defendant’s
 8.    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,                   compliance with such notification requirement;
       use, distribute, or administer any narcotic or other controlled substance, or any                    15.     the defendant shall, upon release from any period of custody, report to the probation officer
       paraphernalia related to such substances, except as prescribed by a physician;                               within 72 hours;
 9.    the defendant shall not frequent places where controlled substances are illegally sold, used,        16.     and, for felony cases only: not possess a firearm, destructive device, or any other dangerous
       distributed or administered;                                                                                 weapon.




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             The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).


                  STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be subject
 to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are not
 applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. §3664(k). The
 Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim, adjust
 the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C.
 §3563(a)(7).

           Payments shall be applied in the following order:

                    1. Special assessments pursuant to 18 U.S.C. §3013;
                    2. Restitution, in this sequence:
                              Private victims (individual and corporate),
                              Providers of compensation to private victims,
                              The United States as victim;
                    3. Fine;
                    4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                    5. Other penalties and costs.

                               SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply for any loan or open
 any line of credit without prior approval of the Probation Officer.

           The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary proceeds
 shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts, including any
 business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                               These conditions are in addition to any other conditions imposed by this judgment.




                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                      to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to
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      at
      the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
            Date                                                     Deputy Marshal




                                                                 CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                     Clerk, U.S. District Court


                                                               By
            Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                    Defendant                                                       Date




                    U. S. Probation Officer/Designated Witness                      Date




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